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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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       UNITED STATES OF AMERICA,           )                  CR F 06-0299 AWI
11                                         )
                         Plaintiff,        )                  ORDER DIRECTING
12                                         )                  APPEARANCE OF JUROR
             v.                            )                  CYNTHIA CANNON TO
13                                         )                  SHOW CAUSE WHY
       DAVID KEITH GOODWIN,                )                  SANCTIONS SHOULD NOT
14                                         )                  BE IMPOSED
                         Defendant.        )
15     ____________________________________)
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17          On Tuesday, January 29, 2008, Cynthia Cannon (“Cannon”) was selected for jury service
18   in the above-captioned case. On Wednesday, January 30, 2008, juror Cannon did not appear for
19   jury service, but left a message on the court’s telephone voicemail system informing the court she
20   was unable to continue with jury because of feeling ill, because of difficulty in obtaining care for
21   her minor child, and because of extreme financial hardship.
22          A juror’s obligation to appear is pursuant to the court’s authority to carry out the policy of
23   the United States, which requires that “all persons shall have the opportunity to be considered for
24   service on grand and petit juries in the district courts of the United States, and shall have an
25   obligation to serve as jurors when summoned for that purpose.” 28 U.S.C. § 1861. Section
26   1866(g) of Title 28 of the United States Code provides:
27                   Any person summoned for jury service who fails to appear as directed
            shall be ordered by the district court to appear forthwith and show cause for his
28          failure to comply with the summons. Any person who fails to show good cause
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 1            for noncompliance with a summons may be fined not more than $100 or
              imprisoned not more than three days, or both.
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     The court’s authority to impose sanctions pursuant to section 1866(g) extends both to the failure
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     of a potential juror to appear during the selection process and to complete jury service if selected.
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     47 Am.Jur. 2d Jury § 98. Further, a court may impose sanctions for the unexcused failure to
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     complete jury service pursuant to the court’s inherent contempt powers. United States v.
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     Hillyard, 52 F.Supp. 612, 612 (Dist. Wash. 1943).
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              Although the court shall direct any person who fails to comply with the court’s summons
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     to appear to show cause for non-compliance, excuse may be granted upon a showing of “undue
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     hardship or extreme inconvenience .” 28 U.S.C. § 1866(c). The decision to excuse a juror for
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     reasons of hardship is at the exclusive discretion of the trial judge. Untied States v. Echavarria-
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     Olarte, 904 F.2d 1391, 1395 (9th Cir. 1990).
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              Pursuant to the foregoing, it is hereby ORDERED that juror Cannon shall appear at 1:30
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     p.m. on Monday, April 7, 2008, in Courtroom 2 to show cause why she should be excused from
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     jury service in the above captioned matter. In addition to testimony, the court will consider any
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     documents, including but not limited to, pay stubs, physician’s notes, or notes from employers
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     that may tend to show hardship. The court also requires that the key-card that was issued to juror
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     Cannon on Tuesday, January 29, 2008, be surrendered to the court at the time of juror Cannon’s
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     court appearance.
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              The Clerk of the Court shall cause this order to be personally served on juror Cannon by a
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     United States Marshal at the location provided by the court’s Jury Administrator.
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     IT IS SO ORDERED.
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     Dated:      March 24, 2008                         /s/ Anthony W. Ishii
25   h2ehf                                        UNITED STATES DISTRICT JUDGE
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